Case 3:22-cv-00049-NKM-JCH Document 265-1 Filed 07/25/23 Page 1 of 6 Pageid#: 3207




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

   ------------------------------------X
   BABY DOE, A CITIZEN OF AFGHANISTAN :
   CURRENTLY        RESIDING  IN  NORTH :
   CAROLINA, BY AND THROUGH NEXT :                          CIVIL ACTION NO. 3:22-CV-49
   FRIENDS, JOHN AND JANE DOE;AND JOHN :
   AND JANE DOE, CITIZENS OF AFGHANISTAN :                  PUBLIC VERSION
   AND LEGAL GUARDIANS OF BABY DOE,      :                  REDACTED
                                         :
        Plaintiffs,                      :
                                         :
   v.                                    :
                                         :
   JOSHUA MAST, STEPHANIE MAST, RICHARD :
   MAST, KIMBERLEY MOTLEY, AND AHMAD :
   OSMANI,                               :
                                         :
        Defendants,                      :
                                         :
   and                                   :
                                         :
   UNITED STATES SECRETARY OF STATE      :
   ANTONY BLINKEN AND UNITED STATES      :
   SECRETARY OF DEFENSE GENERAL          :
   LLOYD AUSTIN,                         :
                                         :
        Nominal Defendants.              :
                                         :
   ------------------------------------X

    PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT RICHARD MAST’S
   RESPONSE IN SUPPORT OF MOTION TO STAY DISCOVERY, AND SUR-REPLY IN
      OPPOSITION TO DEFENDANTS JOSHUA MAST AND STEPHANIE MAST’S
                       MOTION TO STAY DISCOVERY

          Plaintiffs file this response to the “response” of Defendant Richard Mast (“R Mast”)

   (ECF No. 251) to the Motion to Stay Discovery (ECF No. 237) filed by Defendants Joshua Mast

   and Stephanie Mast (“J&S Mast”), and this sur-reply to the Reply in Support of Motion to Stay

   Discovery (ECF No. 259) filed by J&S Mast. Plaintiffs do so not to re-argue the merits of the
Case 3:22-cv-00049-NKM-JCH Document 265-1 Filed 07/25/23 Page 2 of 6 Pageid#: 3208
Case 3:22-cv-00049-NKM-JCH Document 265-1 Filed 07/25/23 Page 3 of 6 Pageid#: 3209




   inaccurate statements made in the November 18 Opinion about the evidence presented in the

   circuit court. A.A. and F.A. v. J.M. and S.M., CL22000186-00, March 24, 2023 Petitioners’

   Requested Corrections to The Court’s Findings and Rulings. And the circuit court judge now

   presiding over that proceeding acknowledged his concerns about the November 18 Opinion

   before issuing its final May 3 Order, stating that he was reviewing the “previous order and

   findings in the case” and “[t]here are certain of those findings that I agree with, and there are

   certain of those findings I’m equivocal on[.]” A.A. and F.A. v. J.M. and S.M., CL22000186-00,

   January 30, 2023 Hr’ng Transcript at 128:4-9 (attached as Exh. 2). Following those statements,

   the circuit court issued the May 3 Order that vacated the adoption order.

          Amazingly, J&S Mast even assert that that “the Fluvanna Circuit Court rejected” the

   “premise” that “the Masts do not have a right to have custody of Baby Doe because they

   ‘abducted’ a child.” ECF No. 259 at 6. Yet, the circuit court vacated the adoption order, finding

   that it was void ab initio based on extrinsic fraud and that the Does were deprived of due process.

   See May 3 Order.

          Finally, the arguments made by both J&S Mast and R Mast in support of a stay mirror

   those they made in support of their pending motions to dismiss. In both, they argued that the

   supposed similarity of the subject matter addressed in this case and the circuit court proceeding

   mandated application of the “domestic relations exceptions,” asserting that this Court lacked

   jurisdiction to address matters of domestic relations. See ECF Nos. 85 at 1; 88 at 8-9. It is worth

   noting, though, that, in the Virginia Court of Appeals, J&S Mast (with R Mast as their counsel)

   argue that “[a]doption proceedings . . . are not domestic relations matters” (and, thus, they

   argue, are statutorily subject to interlocutory appeal). See J.M. and S.M. v. A.A. and F.A., Case
Case 3:22-cv-00049-NKM-JCH Document 265-1 Filed 07/25/23 Page 4 of 6 Pageid#: 3210




   Nos. 1855-22-2, 0940-23-2, 0940-23-2, & 0953-23-2, July 14, 2023, Response to Notice of

   Supplemental Authority at 1 (attached as Exh. 3) (emphasis added).



   July 25, 2023                       Respectfully submitted,

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Case 3:22-cv-00049-NKM-JCH Document 265-1 Filed 07/25/23 Page 5 of 6 Pageid#: 3211




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Case 3:22-cv-00049-NKM-JCH Document 265-1 Filed 07/25/23 Page 6 of 6 Pageid#: 3212




                                    CERTIFICATE OF SERVICE

          I hereby certify that on the 25th day of July 2023, I filed the foregoing with the Court’s

   electronic case-filing system, thereby serving all counsel of record in this case.



                                  By:     /s/ Maya Eckstein
                                          Maya M. Eckstein (VSB No. 41413)
